      Case 18-04740-JJG-7A                   Doc 60       Filed 04/08/19          EOD 04/10/19 21:15:03               Pg 1 of 1


                                        UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF Southern Indiana

                                                      Minute Entry/Order
Hearing Information:
                        Debtor:   STEPHEN ALLEN & PATRICIA LEE CHANDLER
                  Case Number:    18-04740-JJG-7A             Chapter: 7

          Date / Time / Room:     MONDAY, APRIL 08, 2019 09:00 AM IP 311

         Bankruptcy Judge:        JEFFREY J. GRAHAM
              Courtroom Clerk:
                Reporter / ECR:   N/A                                                                                           0.00


Matter:
              Hearing on Motion for Relief from Stay and Abandonment filed by Nationstar Mortgage LLC d/b/a Mr. Cooper and
              Trustee's Objection thereto [46], [50]
              R / M #: 0 / 0
              VACATED: Motion withdrawn by Creditor on 2/28/19.


Appearances:

        NONE

Proceedings:                                                                                                             1.00


        VACATED: Motion withdrawn by Creditor on 2/28/19.

IF COUNSEL HAS BEEN DIRECTED BY THE COURT TO SUBMIT AN ORDER BASED ON THE COURT'S RULING
OR THE PARTIES' AGREEMENT, THEN NO FURTHER NOTICE OR REMINDER WILL BE ISSUED. THE COURT
WILL NOT KEEP A CASE OPEN SOLELY BECAUSE THE ORDER WAS NOT SUBMITTED WITHIN THE TIME
PERIOD DIRECTED BY THE COURT. IN SUCH INSTANCE, A REOPENING FEE WILL APPLY.




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